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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  Anna Kane
                                Plaintiff(s),                     23-cv-10628 (JGLC)

                  -against­                            CIVIL CASE MANAGEMENT PLAN
 SEAN COMBS, HARVE                                        AND SCHEDULING ORDER
 PIERRE, and THE THIRD
 ASSAILANT                  Defendant(s).


JESSICA G. L. CLARKE, United States District Judge:

       This Civil Case Management Plan and Scheduling Order is submitted by the parties in
accordance with Fed. R. Civ. P. 26(f)(3).

  1. All parties [consentD      do not consent  I✓�  to conducting all further proceedings before a
     United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c). The parties are
     free to withhold consent without any adverse substantive consequences. [.if all parties consent,
     the remaining paragraphs need not be completed at this time. Instead, within three days of
     submitting this Case Management Plan and Scheduling Order, the parties shall submit to the
     Court a fully executed Notice, Consent, and Reference of a Civil Action to a Magistrate Judge,
     available at https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf]

  2. The parties [haveJZ1; have not O conferred pursuant to Fed. R. Civ. P. 26(f).
  3. Settlement discussions [have Q; have not I ✓� taken place.

         a. Counsel for the parties have discussed an informal exchange of information in aid of
            early settlement and have agreed to exchange the following information within
           _ _ _ _ _ days/weeks: __________________                                      _



         b. Counsel for the parties believe the following alternative dispute resolution mechanisms
            may be helpful in resolving this case (check all that apply):

             □ Immediate referral to the District's Mediation Program
             □ Immediate referral to a Magistrate Judge
             □ Referral to the District's Mediation Program after the close of fact discovery

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                                                   July 10, 2025
10:00 AM

The initial pre-trial conference scheduled for January 9, 2025 is HEREBY ADJOURNED.




January 3, 2025
